     Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 1 of 20 PageID #: 1




                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION




     New Amsterdam LLC,

                 Plaintiff,                                Case No. 2:23-cv-421


                 v.                                        JURY TRIAL DEMANDED


     Medtronic plc, Medtronic, Inc.,
     Medtronic USA, Inc., Medtronic
     Xomed, Inc., and Intersect ENT, Inc.,

                 Defendants.


                      ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

         New Amsterdam LLC (“Plaintiff”) hereby files this Original Complaint for Patent Infringement

against Medtronic plc (“Medtronic Ireland”), Medtronic, Inc. (“Medtronic USA Parent”), Medtronic

USA, Inc. (“Medtronic USA”), Medtronic Xomed, Inc. (“Medtronic Xomed”), and Intersect ENT, Inc.

(“Intersect”) (collectively, “Medtronic” or “Defendant”), and alleges, upon information and belief, as

follows:

                                             THE PARTIES

1.       New Amsterdam LLC is a limited liability company organized and existing under the laws of the

         State of Delaware with its principal place of business at 163 Bogerts Mill Road, Harrington Park,

         New Jersey 07640.

2.       Upon information and belief, Defendant Medtronic plc is a corporation organized and existing

         under the laws of Ireland, having its principal office at 20 On Hatch, Lower Hatch Street, Dublin




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              1
     Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 2 of 20 PageID #: 2




        2, Ireland, and its operational office at 710 Medtronic Parkway, Northeast. Minneapolis, MN

        55432.

3.      Upon information and belief, and as alleged and shown below, Defendant Medtronic, Inc. is a

        corporation organized and existing under the laws of the state of Minnesota, having its principal

        office at 710 Medtronic Parkway, Northeast. Minneapolis, MN 55432. Defendant, through joint

        enterprise as alleged below, has multiple places of business in this District located in Tyler,

        Longview, Sherman, Texarkana, Beaumont, Frisco, and Plano, Texas.

4.      Upon information and belief, and as alleged and shown below, Defendant Medtronic USA, Inc.

        is a corporation organized and existing under the laws of the state of Minnesota, having its

        principal office at 710 Medtronic Parkway, Northeast. Minneapolis, MN 55432. Defendant,

        through joint enterprise as alleged below, has multiple places of business in this District located

        in Tyler, Longview, Sherman, Texarkana, Beaumont, Frisco, and Plano, Texas.

5.      Upon information and belief, and as alleged and shown below, Defendant Medtronic Xomed,

        Inc. is a corporation organized and existing under the laws of the state of Delaware, and through

        joint enterprise as alleged below, has multiple places of business in this District located in Tyler,

        Longview, Sherman, Texarkana, Beaumont, Frisco, and Plano, Texas.

6.      Upon information and belief, and as alleged and shown below, Defendant Intersect ENT, Inc. is

        a corporation organized and existing under the laws of the state of Delaware, and through joint

        enterprise as alleged below, has multiple places of business in this District located in Tyler,

        Longview, Sherman, Texarkana, Beaumont, Frisco, and Plano, Texas. As shown and further

        alleged below, Intersect was acquired by Medtronic Ireland in May, 2022, and now holds itself

        out as Medtronic. As shown in the press release, the acquisition was to acquire the Accused

        Intrumentalities, as defined below, and which includes the SINUVA line.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 2
     Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 3 of 20 PageID #: 3




     See https://news.medtronic.com/2022-05-13-Medtronic-completes-acquisition-of-Intersect-ENT




                                    See https://www.intersectent.com/

7.      Upon information and belief, at least since May 2022, Medtronic Ireland makes, uses, sells,

        offers for sale, and/or imports the Accused Products.

8.      Upon information and belief, in acquiring Intersect, Medtronic Ireland assumed all liabilities

        arising from Intersect’s past and present acts and omissions.

9.      Upon information and belief, and as shown above, Intersect operates within the “Neuroscience

        Portfolio at Medtronic.” See https://news.medtronic.com/2022-05-13-Medtronic-completes-

        acquisition-of-Intersect-ENT. Upon information and belief, Medtronic Ireland receives revenue

        from Intersect’s actions and products.


ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                          3
      Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 4 of 20 PageID #: 4




10.      Upon information and belief, Medtronic USA Parent, and along with its subsidiaries Medtronic

         USA, Medtronic Xomed and Intersect, are all subsidiaries of Medtronic Ireland.

11.      Upon information and belief, Intersect has at all times been the manufacturer of the Accused

         Instrumentalities, and since May 2022, Medtronic USA and Medtronic Xomed sell and offer to

         sell the Accused Instrumentalities.

12.      Upon information and belief, Medtronic Ireland directs and controls the decisions of Medtronic

         USA Parent, Intersect, Medtronic USA, and Medtronic Xomed regarding the Accused

         Instrumentalities. Indeed, two executive officers of Medtronic Ireland, CEO Geoff Martha and

         CFO Karen Parkhill, are the same as Medtronic USA Parent.




         See https://www.wsj.com/market-data/quotes/MDT/company-people (screenshot of key people
         of Medtronic plc from Wall Street Journal) and https://www.medtronic.com/us-en/our-
         company/leadership.html (Medtronic website of leadership for Medtronic USA Parent).

13.      Upon information and belief, Defendants are engaged in a joint enterprise to exploit and

         monetize the Accused Instrumentalities in the United States, including within this Judicial

         District, and are jointly and severally liable to Plaintiff for all damages resulting therefrom. By




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                4
      Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 5 of 20 PageID #: 5




         way of example, and on information and belief, Defendant Medtronic USA Parent is the owner

         in all rights to the trademark “Medtronic” with the USPTO. Moreover, Medtronic patent rights

         appear to be spread across a variety of Medtronic subsidiaries, but under common control and

         direction. Indeed, Medtronic Ireland, Medtronic USA Parent, Medtronic Xomed and other

         Medtronic subsidiaries have all, at different occasions, brought IPR proceedings on behalf of

         Medtronic. Further, Medtronic USA Parent, Medtronic USA and other Medtronic subsidiaries

         have also brought enforcement actions on behalf of Medtronic numerous times in District Courts,

         for example, Medtronic, Inc., Medtronic USA, Inc. et al v. Axonics Modulation Technologies,

         Inc., Case No. 8-19-cv-02115 (C.D. Cal. Nov. 9, 2019). Further, as noted above, the business

         headquarters for Defendants Medtronic Ireland, Medtronic USA Parent and Medtronic USA are

         the same. Stull further, the Accused Instrumentalities are marketed in the same form, under the

         same names (e.g., Medtronic), by all Defendants. On information and belief, there exists written

         agreement(s) among and between Defendants governing the rights, duties, and responsibilities of

         each entity in their collective effort to exploit and monetize the Accused Instrumentalities in the

         United States, including within this Judicial District, all to the harm of Plaintiff.

14.      Upon information and belief, Defendants therefore sell and offer to sell products and services

         throughout the United States, including in this judicial district, and introduce products and

         services into the stream of commerce that incorporate infringing technology, knowing that they

         would be sold in this judicial district and elsewhere in the United States.

                                         JURISDICTION AND VENUE

15.      This Court has subject matter jurisdiction over this case under 28 U.S.C. §§ 1331 and 1338(a).

16.      This Court has personal jurisdiction over Defendant. Defendant has continuous and systematic

         business contacts with the State of Texas. Defendant transacts business within this District and




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                5
      Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 6 of 20 PageID #: 6




         elsewhere in the State of Texas. Further, this Court has personal jurisdiction over Defendant

         based on its commission of one or more acts of infringement of patent-in-suit in this District and

         elsewhere in the State of Texas.

17.      Upon information and belief, Defendant transacts substantial business in the State of Texas and

         this Judicial District. Defendant has committed acts of infringement in this District by, among

         other things, offering to sell and selling products that infringe the asserted patents, including the

         accused products as alleged herein, as well as providing service and support to its customers in

         this District. Upon information and belief, Defendant, directly or indirectly, participates in the

         stream of commerce that results in products, including the accused products, being made, used,

         offered for sale, and/or sold in the State of Texas and/or imported into the United States to the

         State of Texas.

18.      Defendant maintains regular, physical, continuous, and established places of businesses,

         including places of business for numerous employees in this District, which Defendant has

         established, ratified, and controlled; have employed people to conduct their business from this

         District; and from which they have willfully infringed the Asserted Patents in order to benefit

         themselves in this District. Defendant commits acts of infringement in this District, including as

         explained further below by making and using the infringing systems in, and performing at least

         one step of the accused methods of the Asserted Patents, at their regular and established places of

         business in this District.

19.      As shown below, but only as limited examples, Defendant has employees in the Eastern District

         of Texas, including in Tyler, Longview, Sherman, Texarkana, Beaumont, Frisco, and Plano,

         Texas:




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                  6
  Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 7 of 20 PageID #: 7




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                        7
  Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 8 of 20 PageID #: 8




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                        8
      Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 9 of 20 PageID #: 9




20.      Venue is proper in the District of Texas as to Defendant pursuant to at least 28 U.S.C. §§

         1391(c)(2) and 1400(b). As noted above, Defendant maintains a regular and established business

         presence in this District. As noted above, Defendant maintains a regular and established business

         presence in this District. See In re Monolithic Power Sys., Inc., 50 F.4th 157, 160 (Fed. Cir.

         2022); see also AGIS Software Dev. LLC v. Google LLC, No. 2:19-CV-00361-JRG, 2022 WL

         1511757, at *9 (E.D. Tex. May 12, 2022).

21.      Furthermore, venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391(b), 1391(c)

         and 1400(b) because, among other things, Defendant Medtronic Ireland is subject to personal

         jurisdiction in this Judicial District, it has regularly conducted business in this Judicial District,

         certain of the acts complained of herein occurred in this Judicial District, and it is not a resident

         in the United States and may be sued in any judicial district.

                               BACKGROUND AND PATENTS-IN-SUIT

22.      Plaintiff is the sole and exclusive owner, by assignment, of U.S. Patent Nos. 6,916,483 (“the

         ’483 Patent”) titled “Bioabsorbable Plugs Containing Drugs” relating to controllably delivering


ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                   9
 Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 10 of 20 PageID #: 10




      therapeutic agents to an orthopaedic surgical site that requires the implantation of a prosthesis

      within the site.

23.   By operation of law, the ’483 Patent was originally issued and exclusively vested to the named

      inventors, James Ralph and Steven Tater, as of the issue date of the ’483 Patent. See 35 U.S.C. §

      261; Schwendimann v. Arkwright Advanced Coating, Inc., 959 F.3d 1065, 1072 (Fed. Cir. 2020);

      Suppes v. Katti, 710 Fed. Appx. 883, 887 (Fed. Cir. 2017); Taylor v. Taylor Made Plastics, Inc.,

      565 Fed. Appx. 888, 889 (Fed. Cir. 2014). The inventors, in a written instrument dated June 30,

      2003, and filed with the United States Patent and Trademark Office on June 9, 2005, assigned all

      rights, title, and interest in the ’483 Patent to OsetoTools, LLC.

24.   OsteoTools, LLC, in a written instrument dated April 1, 2005, and filed with the United States

      Patent and Trademark Office on April 2, 2005, assigned all rights, title, and interest in the ’483

      Patent to BioDynamics, LLC.

25.   Formed in May 2004, BioDynamics, LLC is a medical design company dedicated to the

      development of new surgical implants, instruments and techniques that are reliable and less

      intrusive, that allow a surgeon to be more efficient, and which speed a patient's recovery. Their

      team of engineers has several decades of combined medical design experience and over 150

      patents in the medical arena, ranging from orthopedic implants to biologics.

26.   Thereafter, in a written instrument dated June 15, 2021, and filed with the United States Patent

      and Trademark Office on July 8, 2021, BioDynamics LLC assigned all rights, title, and interest

      in the ’483 Patent to First Commerce Bank related to settling litigation claims.

27.   Thereafter, in a written instrument dated September 28, 2021, and filed with the United States

      Patent and Trademark Office on November 17, 2021, First Commerce Bank assigned all rights,

      title, and interest in the ’483 Patent to the Plaintiff New Amsterdam LLC. As such, Plaintiff New




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                           10
 Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 11 of 20 PageID #: 11




      Amsterdam LLC has sole and exclusive standing to assert the ’483 Patent and to bring these

      causes of action.

28.   The ’483 Patent is valid, enforceable, and was duly issued in full compliance with Title 35 of the

      United States Code.

29.   The inventions described and claimed in the ’483 Patent were invented individually and

      independently by James Ralph and Steven Tater.

30.   The ’483 Patent includes numerous claims defining distinct inventions. As represented in Figs.

      1A-J of the ’483 Patent below, the inventions generally relate to implantable devices and

      methods thereof for dispensing one or more therapeutic agents at a surgical site. More

      particularly, the invention relates to devices and methods for controllably delivering therapeutic

      agents to an orthopaedic surgical site that requires the implantation of a prosthesis within the site.




31.   The priority date of each of the ’483 Patent is at least as early as July 22, 2002. As of the priority

      date, the inventions as claimed were novel, non-obvious, unconventional, and non-routine.

32.   Biodegradable materials are used in medicine for a variety of purposes including drug delivery

      devices and as aids in tissue repair. The physical and chemical properties of such materials can



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               11
 Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 12 of 20 PageID #: 12




      vary as in the case of different polymeric materials, e.g., melting point, degradation rate,

      stiffness, etc. The variability in physical and chemical properties of biodegradable polymeric

      materials allows biodegradable implants made from such materials to be tailored to suit specific

      applications.

33.   At the time of the inventions, the porous bioabsorbable were generally isotropic materials. That

      is to say, the structure and composition of the materials were uniform in all directions. Any

      pharmacological therapeutic agents were generally distributed uniformly in the biodegradable

      carrier materials. This, in turn, means that the active agents were released uniformly into the

      wound site at a rate determined only by the rate at which the implant material biodegrades and

      the surface area of the implant. In practice, it would have been preferable to have controlled or

      phased release of active agents. Alternatively, it would sometimes have been desirable to have an

      initial rapid release of antiseptic followed by slower release of wound healing factors such as

      cytokines, EGF, etc.

34.   The inventors of the ’483 Patent conceived new a modular drug delivery device and method for

      controllably delivering a therapeutic agent to a surgical site, particularly an orthopaedic surgical

      site into which a prosthesis has been implanted. The bioabsorbable drug delivery devices in

      accordance with the various embodiments of the ’483 Patent include encapsulating the

      therapeutic agent in a bioabsorbable polymer, or a modular plug containing more than one

      bioabsorbable polymer, which will yield a controllable release of the therapeutic agent over a

      predefined dosing period, with residual therapeutic agent being thereafter delivered only until the

      bioabsorable polymer is completely biodegraded.

35.   The ’483 Patent is a pioneering patent, and has been cited as relevant prior art in 99 subsequent

      United States Patent Applications, including Applications Assigned to such technology leaders




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             12
 Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 13 of 20 PageID #: 13




      and academia as Tyco Healthcare, MIT, Microchips, Inc., Tyrx Pharma Inc. and Orbusneich

      Medical, Inc.

36.   The claims of the ’483 Patent were all properly issued, and are valid and enforceable for the

      respective terms of their statutory life through expiration, and are enforceable for purposes of

      seeking damages for past infringement even post-expiration. See, e.g., Genetics Institute, LLC v.

      Novartis Vaccines and Diagnostics, Inc., 655 F.3d 1291, 1299 (Fed. Cir. 2011) (“[A]n expired

      patent is not viewed as having ‘never existed.’ Much to the contrary, a patent does have value

      beyond its expiration date. For example, an expired patent may form the basis of an action for

      past damages subject to the six-year limitation under 35 U.S.C. § 286”) (internal citations

      omitted).

37.   The expiration date of the ’483 Patent is no earlier than June 9, 2023.

                             MEDTRONIC’S INFRINGING PRODUCTS

38.   Upon information and belief, Medtronic makes, sells, advertises, offers for sale, uses, or

      otherwise provides drug eluting implants, including, but not limited to, the SINUVA Sinus

      Implant, that utilize the ’483 Patent’s patented implantable prosthetic designs. On information

      and belief, these drug eluting implants are operable for releasing a therapeutic agent into the

      body of an animal following implantation of the prosthesis within the body of the animal.

39.   On information and belief, Medtronic has manufactured and sold products that infringe the ’483

      Patent and which include at least, but not limited to, its SINUVA Sinus Implant (“Accused

      Instrumentalities”).

40.   As shown in more detail below, Medtronic’s products include each and every limitation of at

      least, but not limited to, claim 1 of the ’483 Patent and therefore literally infringe these claims.

      Plaintiff reserves the right to assert additional claims and to assert infringement under the




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             13
 Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 14 of 20 PageID #: 14




      doctrine of equivalents in light of information learned during discovery or in view of this Court’s

      claim construction order.

41.   Images of Medtronic’s drug eluting implants products are shown below. Medtronic’s drug

      eluting implants products include the required (a) biodegradable polymer dimensions to fit

      snugly within the shaped recess in the prosthesis and (2) therapeutic agent that is released into

      the body of the animal during biodegration of the biodegradable polymer over a predefined

      dosing period, all of the same fundamental components claimed in the ’483 Patent.

42.   For example, SINUVA Sinus Implant is shown in the following video from its website

      promoting the Accused Instrumentalities, as last visited on April 6, 2023, at




SINUVA | Non-Surgical Nasal Polyps Treatment Option

43.   Features of the Accused Instrumentalities below describe the functionality as required by the

      ’483 Patent are found on Medtronic’s website as last visited on April 6, 2023 at

      https://www.sinuva.com/wp-content/uploads/2021/03/SINUVA-Patient-Brochure-Print.pdf.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            14
 Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 15 of 20 PageID #: 15




44.   On information and belief, Medtronic directs and completely and/or effectively controls, and/or

      instigates, the conduct of its subsidiaries and affiliates, including, but not limited to, Intersect,

      Medtronic USA and Medtronic Xomed, to design, develop, manufacture, market, advertise,

      manufacture, package, brand, offer for sale, and sell the Accused Products in and into the United

      States.

45.   Medtronic exercise complete domination and control over its subsidiaries and affiliates,

      including, but not limited to, Intersect, Medtronic USA and Medtronic Xomed, and/or direct and

      completely and/or effectively control all external and internal workings of those subsidiaries and

      affiliates.

                                            COUNT I
                            Infringement of U.S. Patent No. 6,916,483B2

46.   Plaintiff incorporates the above paragraphs by reference.

47.   Medtronic without authority, continues to make, use, sell, offer to sell, and/or import into the

      United States its Accused Instrumentalities as shown above.

48.   Medtronic thus has infringed and continues to infringe at least claims 1 and 20 of the ’483 Patent

      literally and/or under the doctrine of equivalents.


ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              15
 Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 16 of 20 PageID #: 16




49.   Medtronic has also actively induced and will continue to actively induce the infringement of at

      least one of claim 1 of the ’483 Patent, in violation of 35 U.S.C. § 271(b), by, among other

      things, actively and knowingly aiding and abetting infringement of others through activities such

      as creating and/or distributing videos of use such as the Osteo Video, brochures, manuals,

      instructional documents, and/or similar materials with instructions on creating, manufacturing,

      designing, assembling and/or implementing infringing products, with the specific intent to

      induce others to directly make, use, offer for sale, sell, and/or import into the United States

      products that fall within the scope of the ’483 Patent, without license or authority from Plaintiff.

      On information and belief, Medtronic knows that the induced acts constitute infringement of the

      ’483 Patent.

50.   Medtronic individually, collectively, or through others or intermediaries, has contributorily

      infringed, and/or is contributorily infringing, in violation of 35 U.S.C. § 271(c), at least one

      claim of the ’483 Patent by making, using, offering for sale, selling, and/or importing, material

      parts of the inventions claimed in the ’483 Patent, which are not a staple article or commodity of

      commerce suitable for substantial non-infringing use, and knowing the accused parts to be

      especially made or especially adapted for use in an infringement of the ’483 claims.

51.   Defendant Medtronic’s subsidiaries, including but not limited to Intersect, Medtronic USA and

      Medtronic Xomed, are alter egos of Medtronic, and Medtronic is therefore responsible and liable

      for any activities performed by its subsidiaries on Medtronic’s behalf in offering for sale, testing,

      selling, and/or importing the Accused Products in or into the United States and instructing or

      training end users to use the Accused Products in the United States. Medtronic directs and

      completely and/or effectively controls the conduct of its subsidiaries, including but not limited to

      Intersect, Medtronic USA and Medtronic Xomed. Medtronic controls the internal business




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              16
 Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 17 of 20 PageID #: 17




      operations, workings, and affairs of its subsidiaries and related companies. Medtronic and its

      subsidiaries do not observe and enforce corporate formalities and share common executive level

      leadership. The relationship between Medtronic and its subsidiaries, parents, and related entities

      is a sham at least because Medtronic B directs and controls all external and internal activities of

      its subsidiaries, including but not limited to Intersect, Medtronic USA and Medtronic Xomed.

      Medtronic, and all key United States activities and decsions are made solely by Medtronic and its

      direct employees.

52.   Medtronic is also liable for the actions of its subsidiaries, including but not limited to Intersect,

      Medtronic USA and Medtronic Xomed, as to the manufacture, use, sale, offer for sale, testing, or

      import in or into the United States of the Accused Products under agency theory and/or because

      its subsidiaries, including but not limited to Intersect, Medtronic USA and Medtronic Xomed,

      function as mere agents of Medtronic as to the Accused Products. Any and all activities taken by

      Medtronic’s subsidiaries, including but not limited to Intersect, Medtronic USA and Medtronic

      Xomed, relating to the development, manufacturing, use, sale, offer for sale, or import in or into

      the United States of the Accused Products are and/or were instigated and directed by Medtronic,

      and are therefore attributable to Medtronic.

53.   Defendant has been on actual notice of the ’483 Patent at least as early as September 8, 2011

      when its subsidiary Medtronic Vascular, Inc. cited to it within its own patent prosecution, as

      shown below.




         See https://patents.google.com/patent/US6916483B2/en?oq=6%2c916%2c483#citedBy and
         https://patents.google.com/patent/US20110218606A1/en?oq=6%2c916%2c483#patentCitati
         ons




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              17
 Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 18 of 20 PageID #: 18




54.    Defendant’s direct and indirect infringement of the ’483 Patent has thus been committed with

       knowledge of the ’483 Patent, making Medtronic liable for direct, indirect, and willful

       infringement.

55.    Medtronic’s infringement of the ’483 Patent will continue to damage Plaintiff, causing

       irreparable harm for which there is no adequate remedy at law, unless it is enjoined by this

       Court.

56.    Plaintiff has been damaged because of the infringing conduct by Medtronic alleged above. Thus,

       Medtronic is liable to Plaintiff in an amount that adequately compensates it for such

       infringement, which, by law, cannot be less than a reasonable royalty, together with interest and

       costs as fixed by this Court under 35 U.S.C. § 284.

57.    Plaintiff and/or its predecessors-in-interest have satisfied all statutory obligations required to

       collect pre-filing damages for the full period allowed by law.

                                        PRAYER FOR RELIEF

       WHEREFORE, New Amsterdam LLC respectfully requests the Court enter judgment against

Defendant as follows:

       1.       Declaring that Defendant has infringed the ’483 Patent;

       2.       Awarding New Amsterdam LLC its damages suffered because of Defendant’s

                infringement of the ’483 Patent;

       3.       Awarding New Amsterdam LLC its costs, reasonable attorneys’ fees, expenses, and

                interest;

       4.       An award to New Amsterdam LLC of enhanced damages, up to and including trebling of

                Plaintiff’s damages pursuant to 35 U.S.C. § 284 for Medtronic’s willful infringement of

                the ’483 Patent;




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            18
 Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 19 of 20 PageID #: 19




     5.     Granting a permanent injunction pursuant to 35 U.S.C. § 283, enjoining Defendants from

            further acts of infringement with respect to the ’483 Patent;

     6.     Awarding New Amsterdam LLC ongoing post-trial royalties for infringement of the non-

            expired ’483 Patent; and

     7.     Granting New Amsterdam LLC such further relief as the Court finds appropriate.

                                         JURY DEMAND

     New Amsterdam LLC demands trial by jury, under Fed. R. Civ. P. 38.



                                                  Respectfully Submitted

                                                  /s/ Christopher A. Honea
                                                  M. Scott Fuller
                                                     Texas Bar No. 24036607
                                                     sfuller@ghiplaw.com
                                                  Randall Garteiser
                                                     Texas Bar No. 24038912
                                                     rgarteiser@ghiplaw.com
                                                  Christopher A. Honea
                                                     Texas Bar No. 24059967
                                                     chonea@ghiplaw.com

                                                  GARTEISER HONEA, PLLC
                                                  119 W. Ferguson Street
                                                  Tyler, Texas 75702
                                                  Telephone: (903) 705-7420


                                                  Hao Ni
                                                  Texas Bar No. 24047205
                                                  hni@nilawfirm.com
                                                  Neal Massand
                                                  Texas Bar No. 24039038
                                                  nmassand@nilawfirm.com

                                                  NI, WANG & MASSAND, PLLC
                                                  8140 Walnut Hill Ln., Ste. 615
                                                  Dallas, TX 75231>
                                                  Tel: (972) 331-4600


ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                     19
 Case 2:23-cv-00421-JRG-RSP Document 1 Filed 09/15/23 Page 20 of 20 PageID #: 20




                                        Fax: (972) 314-0900


                                        ATTORNEYS FOR PLAINTIFF




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                     20
